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% A 0 2458    (Rev. 06/05)Judgment in a Criminal Case                #277




                       SOUTHERN                                    District of                                     ILLINOIS

         UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                             v.
                    TERRANCE WARE
                                                                         Case Number:           4:05CR40043-003-JPG

                                                                         USM Number:            06723-025

                                                                          Phillip A. Kramer
                                                                         Defendant's Attorney
                                                                                                               - .
                                                                                                             so-
THE DEFENDANT:                                                                                                 022 '3~uls
                                                                                                                     440.' O/.?
                                                                                                                        ' '


dpleaded guilty to countfs)            1 o f the Indictment                                                         e&4:is?e/e?fcpn
   pleaded nolo contendere to count(s)                                                                                  "w0*i/2i(",,"~?         Y,

   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'l'itle & Section                 Nature of Offense                                                          Offense Ended                     Count
                              . ,,,.
                                ..
                                                        ~istri~e.$&iri6'~ilse
                                                                                                . .
                                                                                             . :'   .   .                      :
                                                                                                                                    ... . ;,      *a   ;,I$ ,:
                                                                                                                                         . '. .!,$,,:,,,
                                                                                                                                                                 ....


       The defendant is sentenced as provided in pages 2 through             10           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                   is      are dismissed on the motion of the United States.

         It is ordered that the defendant must not~fythc Un~tedStates attorney for t h ~ d~smct
                                                                                         s    nlthln 30 da 9 of any change ofname, rcsldence,
or mailln address untllall fines, resritut~on,,cost~.
                                                   and special assesmcnts imposed by this judgment are futy pad. Ifordered to pay restirution,
the defenianr must notlfy the court and Un~tedSwtes attorney of matcrlal changes in econonuc arcunbvanccs.




                                                                          J . Phil Gilbert                               ~ i s t r i c Judge
                                                                                                                                       t
                                                                          Name of Judge                                 Title of Judge
                                                                             n
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  262 months on Count 1 of the Indictment



      I$   The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Program



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

      [7 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                before 2 p.m. on

           Cl as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL


                                                                             BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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             Sheet 3 - Supervised Releare
                                                                                                            Judgment-Page             of        10
 DEFENDANT: TERRANCE WARE
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                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

  8 years on Count 1 of the Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unla\vfull possess a controllcrl >ubswncc. The defendant shall refrain from any unlawful use of a <ontrolled
                                        %
 substance. The defendant shall su mt" to' one drug- test \\ ~ t l i ~I5n days of release from impr!sonment and at least 1u.o penodlc drug tests
 thereafter, as determined by the court.
         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
 @ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 8( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fpe or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule oflF'ayments sheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a h t h f u l and complete written report witlnn the first five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescr~bedby a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pernnsslon to do so by the protation officer;
  10)      the defendant shall pe-t aprobation officer to yisit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plam view of the probat~onofficer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
   12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
   13)     as directed by the robanon officer, the Je1;endant ~11311notify third panles of r~sksthat may bc ocsa$~oncdby the ddienrlant's cr~rninal
           record or personay history or charaster~st~ss  and shall pernnt the prohat~onofficer to make such not~ficatlunsand to confirm the
           defendant s cornpl~anceuSlthsuch not~ticat~on   requirenicnt.
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                        Judgment in a Criminal Case   Document 113 Filed 12/29/06         Page 4 of 6       Page ID
           Sheet 3C - Supervised Release                        #280
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                                        SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

  X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
  anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
  immediately notify the probation officer of the receipt of any indicated monies.

  X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
  dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
  residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
  alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
  based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
  costs of counseling.

   X Defendant shall submit within 15 days, not to exceed to 52 days in a one year period for drug urinalysis.
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                 06105) Judgment in a Criminal Case   Document 113 Filed 12/29/06                         Page 5 of 6      Page ID
           Sheet 5 -Criminal Monetary Penalties                 #281
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DEFENDANT: TERRANCE WARE
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6

                      Assessment                                       -
                                                                       Fine                                  Restitution
 TOTALS            $ 100.00                                          $ 300.00                              $ 0.00


      The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case(A0 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lithe defendant m k c s a panid payment, each pa ee shall receive an approuimatr.ly ro onioned a)ment, unless specified othen\,ise in
      the pnoritv order or percentage payment co~urnnKc~"w.However, pur~ulntto 18 Qs.8 $ 3661(;)),all nonfederal victims must be paid
      bef6re the-United States is paid..

 Name of Pavee                                                           Total*               Restitution Ordered     Prioritv or Percentage




 TOTALS                             $                        0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 @ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
   g( the interest requirement is waived for the        fme          restitution.
           the interest requirement for the           tine          restitution is modified as follows:


 * Findings for the total amount of losses are re uiredunder Chapters 109A, 110, 1IOA, and 113A of Title 18 for offenses committed on or after
 September 13,1994, but before April 23, 199%.
A 0 245B      Case
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                 06/05) Judgment in a Criminal Case    Document 113 Filed 12/29/06                    Page 6 of 6          Page ID
           Sheet 6 -Schedule of Payments                         #282

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                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @f Lump sum payment of $                                due immediately, balance due

                 not later than                                  ,or
                 in accordance              C,         D,         E, or         F below; or

 B         Payment to begin immediately (may be combined with              C,           D, or       F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @f Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of his net monthly income.




 Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, a ent of criminal monetary penalties is due d e n
 impriso-pt.      All crlminarmone       penalties, except fhose payments made throug! g ~ e d e r a Bureau
                                                                                                     l      of Pnsons' Inmate Financij
                                      "X
 Responslb~htyProgram, are made to e clerk of the coun.

 The defendant shall receive credit for all payments previously made toward any criminal monetiuy penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

       The defendant shall forfeit the defendant's interest in the following property to the United States:




                                                       1' -
 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restjtution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) pena hes, and (8) costs, includrng cost of prosecuhon and cous costs.
